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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Judge Nina Y. Wang”
Civil Action No. 20-cv-00627-NY W-MDB
MONICA ACOSTA,
. Plaintiff, =;

Vv.

PUEBLO SCHOOL DISTRICT NO. 60, and
JONATHAN DERN, in his individual capacity,

Defendants.

SPECIAL VERDICT FORM

We, the jury, on our oaths, present our answers to the following questions submitted by the
Court, to which we have all unanimously agreed:

I. ° First Amendment Retaliation Claim Against Defendant Jonathan Dehn

1. Did Ms. Acosta'prove, by a preponderance of the evidence, that her strike-related

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activities. were a motivating factor in Mr. Dehn’s decision to recommend Ms. Acosta’s contract be

nonrenéwed?

- ANSWER: Yes No J

If you answered “No”. to Question 1, your verdict is for Defendant Jonathan Dehn on this
claim, and you should proceed to Question 4 below. If you answered “Yes” to Question I,
please proceed to Question 2 below.

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2. Did Mr, Dehn prove, by a‘prepondeérance of the-evidence, that he would have

reached the same decision in the absence of Ms. Acosta’s strike-related activities? . ,

ANSWER: _ Yes No , 4 ‘

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If you answered “Yes” to Question 2, your verdict is for Defendant Jonathan. Dehn on this
claim, and you should proceed to Question 4 below. If you answered “No” to Question 2 and
“Yes” to Question 1 above, your verdict is for the Plaintiff Monica Acosta on this claim, and
< you should proceed to Question 3 below. ‘

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3. What amounit of compensatory damages does the jury believe reasonably and fairly
compensates Ms. Acosta for the deprivation of her First Amendment rights?
ANSWER: _ a. Lost wages and employnient benefits: $
“-b. Mental and emotional suffering: ~ $ é

TOTAL: . 4% g§

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II. Breach of Contract Claim Against Defendant’Pueblo School District-No. 60
4. Did Ms. Acosta prove, by a.preponderance of the evidence, that Defendant Pueblo

School District No. 60.entered into a contract with. Pueblo Education Association to prohibit and
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refrain from engaging in retaliation against any School District employee for his or her support for

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or involvément in the May 7, 2018 teachers’ strike? . :

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ANSWER: Yes / -No

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' If you answered “No” to Question 4, your verdict i is‘for Defendant Pueblo School District No.
60 on this claim, and you should proceed to the Certification below. If you answered “Yes” +
to Question 4, please proceed to Question 5 below. “tee

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5. Did Ms. Acosta prove, by a preponderance of the evidence, that Defendant Pueblo +
School District No. 60 failed to follow this provision when its Board of Education voted to

nonrenew Ms. Acosta’s contract?

ANSWER: _ Yes No /

If you answered “No” to Question 5, your verdict is for Defendant Pueblo School District No.
60 on this claim, and you should proceed to the Certification below. If you answered “Yes”
to both Questions 4'and 5, your verdict is for the Plaintiff Monica Acosta on this claim, and
you should proceed to Question 6 below.

6. What “amount of general damages does the jury believe reasonably and fairly

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compensates Plaintiff for her breach of contract claim?

ANSWER: $

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Ill. Certification

By our signatures and answers herein, we hereby certify that the answers on this form

represent the unanimous verdict of the jury.

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Dated this 1G_ day of March, 2023.

